       Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 1 of 18




               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION


JOEY RAMOS,                     *
an individual,                  *
                                *
      PLAINTIFF,                *
                                *
 v.                             * Case No. 22 – CV - 0286
                                *
 IMAN BUSINESS INC,             *
 a domestic corporation,        *
                                *
       DEFENDANT.               *
                                *
__________________________________________________________________

                                 COMPLAINT

       Plaintiff Joey Ramos (“Ramos” or “Plaintiff”) hereby sues Defendant, IMAN

BUSINESS INC, a domestic corporation, (hereinafter “Defendant”) pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), and its

implementing regulations, the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”) and alleges as follows:

                       JURISDICTION AND PARTIES

      1.    This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.

                                                                           Page 1 of 18
        Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 2 of 18




§ 12181 et seq., based upon Defendant, IMAN BUSINESS INC, failure to remove

physical barriers to access and violations of Title III of the ADA.

       2.     Venue is properly located in the Western District of Texas Austin

Division pursuant to 28 U.S.C. § 1391(b) because venue lies in the judicial district

of the property situs or the judicial district in which a substantial part of the events

or omissions giving rise to Plaintiff’s claims occurred. The Defendant’s property is

located in and does business within this judicial district and all events giving rise to

this lawsuit occurred in this judicial district.

       3.     Plaintiff, Joey Ramos, is and has been at all times relevant to the instant

matter, a natural person residing in Texas and is sui juris.

       4.     Plaintiff is an individual with disabilities as defined by the ADA.

       5.     Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

       6.     Plaintiff uses a wheelchair for mobility purposes.

       7.     Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make his home

community more accessible for Plaintiff and others; and pledges to do whatever is

                                                                               Page 2 of 18
        Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 3 of 18




necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject

Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).

      8.      Defendant, IMAN BUSINESS INC, is a domestic corporation

conducting business in the State of Texas and within this judicial district.

                           FACTUAL ALLEGATIONS

      9.      On or about October of 2021, Plaintiff attempted to but was deterred

from patronizing, and/or gaining equal access as a disabled patron to the Sam's Mini

Mart and Shell Gas Station located at 5210 Manor Rd, Austin, TX 78723 (“Subject

Facility”, “Subject Property”).

      10.     IMAN BUSINESS INC, is the owner, lessor, and/or operator/lessee of

the real property and improvements that are the subject of this action, specifically

the shopping center and its attendant facilities, including vehicular parking and

common exterior paths of travel within the site identified by the Travis County

Assessor parcel identification number 213608 (“Subject Facility”, “Subject

Property”).

      11.     Plaintiff lives within thirty (30) miles of the Subject Property. Because

the Subject Property is located on Manor Road, a Travis County thoroughfare that

he frequents routinely, he is routinely where the Subject Property is located and

                                                                               Page 3 of 18
        Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 4 of 18




travels in and about the immediate area of the Subject Property numerous times

every month, if not every week.

      12.     Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant, IMAN BUSINESS INC, is compelled to remove the physical barriers to

access and correct the ADA violations that exist at the Subject Property, including

those set forth in this Complaint.

      13.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

multiple prior occasions, and at least once before as a patron and advocate for the

disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or sooner, as soon as the barriers to access detailed in this

Complaint are removed. The purpose of the revisit is to be a regular patron, to

determine if and when the Subject Property is made accessible, and to maintain

standing for this lawsuit for Advocacy Purposes.

      14.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendant’s non-disabled patron as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

expose himself to the ongoing barriers to equal access and engage in the futile

                                                                              Page 4 of 18
        Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 5 of 18




gesture of attempting to patronize the Subject Property, a business of public

accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      15.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      16.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      17.    The Subject Property is a public accommodation and service

establishment.

      18.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      19.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer
                                                                            Page 5 of 18
       Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 6 of 18




employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     20.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     21.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Subject Property that preclude and/or limit his

access to the Subject Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

     22.    Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

                                                                             Page 6 of 18
       Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 7 of 18




barriers, conditions and ADA violations more specifically set forth in this

Complaint.

     23.     Defendant, IMAN BUSINESS INC, has discriminated against Plaintiff

(and others with disabilities) by denying his access to, and full and equal enjoyment

of the goods, services, facilities, privileges, advantages and/or accommodations of

the Subject Property, as prohibited by, and by failing to remove architectural

barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

     24.     Defendant, IMAN BUSINESS INC, will continue to discriminate

against Plaintiff and others with disabilities unless and until IMAN BUSINESS

INC, is compelled to remove all physical barriers that exist at the Subject Property,

including those specifically set forth herein, and make the Subject Property

accessible to and usable by Plaintiff and other persons with disabilities.

     25.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:


                       ACCESSIBLE ROUTES/PARKING
                                (Exterior)




                                                                             Page 7 of 18
Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 8 of 18




    a. There is no van accessible parking present in violation
       of Section 4.6 of the 1991 ADAAG and Section 502 of
       the 2010 ADAAG. This violation made it dangerous
       for Plaintiff to utilize the parking facility at the Subject
       Property and caused Plaintiff undue upset and loss of
       opportunity.

    b. There are not enough designated accessible
       parking spaces present in the parking facility servicing
       the Subject Property in violation of Section 4.1 and
       4.6 of the 1991 ADAAG and Section 208 and 208.2 of
       the 2010 ADAAG. This violation made it dangerous
       for Plaintiff to utilize the parking facility at the Subject
       Property and caused Plaintiff undue upset and loss of
       opportunity.

    c. The entrance ramp lacks a level top landing area.
       Violation: The curb ramp has no level landing area in
       violation of Section 4.8.4 of the 1991ADAAG and
       Section 406.4 of the 2010 ADAAG. This violation
       prevented equal access to the plaintiff and caused
       Plaintiff undue upset and loss of opportunity.

    d. There is no accessible route provided within the site
       from the public sidewalk which serves the facility.
       Violation: There is no accessible route connecting the
       public sidewalk serving the subject facility and any
       accessible entrance(s) in violation of Section 4.3.2 of
       the 1991 ADAAG and Section 206.2.1 of the 2010
       ADAAG. This violation prevented equal access to the
       Subject Property and caused Plaintiff undue upset and
       loss of opportunity.

    e. The paint delineating accessible parking spaces and
       access aisles is not being maintained so that it clearly
       marks the accessible parking location in violation of 28
       CFR § 36.211, Section 4.6 of the 1991 ADAAG, and
                                                                      Page 8 of 18
Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 9 of 18




       Section 502.3.3 of the 2010 ADAAG. This violation
       made it dangerous for Plaintiff to utilize the parking
       facility at the Subject Property and caused Plaintiff
       undue upset and loss of opportunity.

    f. There is no visible upright signage (displaying the
       International Symbol of Accessibility) designating any
       parking spaces as accessible in violation of Section 4.6
       of the 1991 ADAAG and Section 502 of the 2010
       ADAAG. This violation made it dangerous for Plaintiff
       to utilize the parking facility at the Subject Property
       and caused Plaintiff undue upset and loss of
       opportunity.

    g. The paved areas immediately outside the purported
       accessible entrance door have an unlevel approach that
       extends into the required minimum level
       maneuvering clearance necessary for a wheelchair user
       to approach and access the entrance’s outward
       swinging entry door in violation of Section 4.13.6 of
       the 1991 ADAAG and Section 404.2.4.1 of the 2010
       ADAAG. This violation prevented equal access to the
       plaintiff and caused Plaintiff undue upset and loss of
       opportunity.

    h. There is no van accessible parking identified as such
       with upright “Van Accessible” signage in violation of
       Section 4.6 of the 1991 ADAAG and Sections 208, 302
       and 502 of the 2010 ADAAG. This violation made it
       dangerous for Plaintiff to utilize the parking facility at
       the Subject Property and caused Plaintiff undue upset
       and loss of opportunity.

    i. The exterior bagged ice cooler positioned on the built-
       up storefront curb does not have enough level
       maneuvering clearance on      the     curb     for    a
       wheelchair user to gain access to the cooler’s outward
                                                                    Page 9 of 18
Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 10 of 18




       swinging doors. Violation: There is not enough clear
       ground space for forward or side reach access to the
       bagged ice cooler doors in violation of Sections 4.2.5
       and/or 4.2.6 of the 1991 ADAAG and Section 306 of
       the 2010 ADAAG. This violation made it impossible
       for Plaintiff to access the bagged ice cooler and in so
       doing made plaintiff feel isolated and separate from
       Defendant’s able-bodied patrons and suffer undue
       upset and loss of opportunity.

    j. The exterior propane tank storage is positioned on a
       built-up storefront curb that does not have enough level
       maneuvering clearance on        the     curb    for    a
       wheelchair user to gain access to the propane tank
       storage outward swinging doors. Violation: There is
       not enough clear ground space for forward or side reach
       access to the propane tank storage doors in violation of
       Sections 4.2.5 and/or 4.2.6 of the 1991 ADAAG and
       Section 306 of the 2010 ADAAG. This violation made
       it impossible for Plaintiff to access the propane tank
       storage and in so doing made plaintiff feel isolated and
       separate from Defendant’s able-bodied patrons and
       suffer undue upset and loss of opportunity.

                               RAMP

    k. The ramp to the accessible entrance (the only means of
       access to wheelchair users) has a run which exceeds the
       maximum slope requirement (8.33%) set forth in
       Section 4.7.2 of the 1991 ADAAG and Section 406.1
       of the 2010 ADAAG. This violation prevented safe
       access to the plaintiff and caused Plaintiff undue upset
       and loss of opportunity.

                  MAINTENANCE PRACTICES



                                                                  Page 10 of 18
Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 11 of 18




    l. Defendant has a practice of failing to maintain the
       accessible features of the facility, creating barriers to
       access for the Plaintiff, as set forth herein, in violation
       of 28 CFR § 36.211. This practice prevented access to
       the plaintiff equal to that of Defendant’s able-bodied
       customers causing Plaintiff loss of opportunity,
       anxiety, humiliation and/or embarrassment.

    m. Defendant has a practice of failing to maintain the
       accessible elements at the Subject Facility by
       neglecting its continuing duty to review, inspect, and
       discover transient accessible elements which by the
       nature of their design or placement, frequency of usage,
       exposure to weather and/or other factors, are prone to
       shift from compliant to noncompliant so that said
       elements may be discovered and remediated.
       Defendant failed and continues to fail to alter its
       inadequate maintenance practices to prevent future
       recurrence of noncompliance with dynamic accessible
       elements at the Subject Facility in violation of 28 CFR
       § 36.211, the 1991 ADAAG, and the 2010 ADAAG.
       These violations, as set forth hereinabove, made it
       impossible for Plaintiff to experience the same access
       to the goods, services, facilities, privileges, advantages
       and accommodations of the Subject Facility as
       Defendant’s able-bodied patrons and caused Plaintiff
       loss of opportunity, anxiety, embarrassment and/or
       humiliation.

    n. Defendant has failed to modify its discriminatory
       maintenance practices to ensure that, pursuant to its
       continuing duty under the ADA, the Subject Property
       remains readily accessible to and usable by disabled
       individuals, including Plaintiff, as set forth herein, in
       violation of 28 CFR § 36.302 and 36.211. This failure
       by Defendant prevented access to the plaintiff equal to
       that of Defendant’s able-bodied customers causing
                                                                     Page 11 of 18
       Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 12 of 18




                Plaintiff loss of opportunity, anxiety, humiliation
                and/or embarrassment.

      26.    The discriminatory violations described above are not an exhaustive list

of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the subject location’s

ADA violations affecting the Plaintiff as a wheelchair user, and the remedial

measures necessary to remove same, will require an on-site inspection by Plaintiff’s

representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff

personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings of personal observation, he has actual notice that

the defendant does not intend to comply with the ADA.

      27.    The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting its continuing duty to review, inspect,

and discover transient accessible elements which by the nature of its design or

placement, frequency of usage, exposure to weather and/or other factors, are prone

to shift from compliant to noncompliant, so that said elements are discovered and

remediated. Defendant failed and continues to fail to alter its inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and


                                                                             Page 12 of 18
       Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 13 of 18




36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

      28.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      29.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      30.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      31.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      32.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the




                                                                            Page 13 of 18
       Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 14 of 18




Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      33.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      34.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

      35.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprives Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      36.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

                                                                             Page 14 of 18
       Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 15 of 18




36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      37.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, IMAN BUSINESS INC, is required to remove the

physical barriers, dangerous conditions and ADA violations that exist at the Subject

Property, including those alleged herein. Considering the balance of hardships

between the Plaintiff and Defendant, a remedy in equity is warranted.

      38.    Plaintiff’s requested relief serves the public interest.

      39.    Plaintiff’s counsel is entitled to recover its reasonable attorneys’ fees

and costs of litigation from Defendant, IMAN BUSINESS INC, pursuant to 42

U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied full and equal




                                                                            Page 15 of 18
        Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 16 of 18




access to the subject premises, as provided by the ADA unless the injunctive relief

requested herein is granted.

       40.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill its continuing duty to

maintain the accessible features at the premises in the future as mandated by 28 CFR

36.211.

       WHEREFORE, the Plaintiff prays as follows:

       A.     That the Court find Defendant, IMAN BUSINESS INC, in
              violation of the ADA and ADAAG;

       B.     That the Court enter an Order requiring Defendant, IMAN
              BUSINESS INC, to (i) remove the physical barriers to
              access and (ii) alter the Subject Property to make the
              Subject Property readily accessible to and useable by
              individuals with disabilities to the full extent required by
              Title III of the ADA;

       C.     That the Court enter an Order directing Defendant,
              pursuant to 28 C.F.R. §36.211, to fulfill its continuing duty
              to maintain its accessible features and equipment so that
              the facility remains accessible to and useable by
              individuals with disabilities to the full extent required by
              Title III of the ADA;

       D.     That the Court enter an Order directing Defendant to
              implement and carry out effective policies, practices, and
              procedures to maintain the accessible features and
                                                                                Page 16 of 18
       Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 17 of 18




            equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
            §36.211.

      E.    That the Court enter an Order directing Defendant to
            evaluate and neutralize its policies and procedures towards
            persons with disabilities for such reasonable time so as to
            allow them to undertake and complete corrective
            procedures;

      F.    An award of attorneys’ fees, costs (including expert fees),
            and litigation expenses pursuant to 42 U.S.C. § 12205 and
            an award of monitoring fees associated with insuring that
            the Defendant is in compliance with the ADA.

      G.    An award of interest upon the original sums of said award
            of attorney’s fees, costs (including expert fees), and other
            expenses of suit; and

      H.    Such other relief as the Court deems just and proper,
            and/or is allowable under Title III of the Americans with
            Disabilities Act.



Dated this the 27th day of March, 2022.


                                             Respectfully submitted,
                                             By: /s/ Matthew Sapp, Esq.
                                             Matthew Sapp
                                             Counsel for Plaintiff
                                             Texas State Bar No.: 24075016
                                             18756 Stone Oak Pkwy, #200
                                             San Antonio, TX 78258
                                             Telephone: 469-381-6833
                                             Email: matt@sappsturgill.com


                                             Respectfully submitted,
                                             By: /s/ K. Michael Sturgill, Esq.

                                                                           Page 17 of 18
     Case 1:22-cv-00286-RP Document 1-2 Filed 03/27/22 Page 18 of 18




                                       Michael Sturgill
                                       Counsel for Plaintiff
                                       Texas State Bar No.: 24075588
                                       18756 Stone Oak Pkwy, #200
                                       San Antonio, TX 78258
                                       Telephone: 214-504-6318
                                       Email: mike@sappsturgill.com




DEFENDANT TO BE SERVED:
IMAN BUSINESS INC
C/O SAMEER UMATIYA
6280 MCNEIL DRIVE, APT 413
AUSTIN, TX 78729




                                                                 Page 18 of 18
